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 4
                            UNITED STATES DISTRICT COURT
 5
                        EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                       No. 2:13-CR-0114-FVS-2
 8
                Plaintiff,                         ORDER GRANTING DEFENDANT’S
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                                                   MOTION TO MODIFY THE
10                     v.                          CONDITIONS OF HIS RELEASE
11
12 ADOUNE LOUANGRATH,
13
               Defendant.
14
15         BEFORE THE COURT is Defendant Adoune Louangrath’s November 13,
16   2014, request to modify the conditions of his release. ECF No. 276. Defendant is
17   represented by Philip E. Nino. Earl Hicks represents the United States.
18         Plaintiff specifically requests the conditions of his release be modified to
19   eliminate the requirement of electronic home monitoring. This requirement was
20   originally ordered by the Court, with Defendant’s consent, on October 7, 2013.
21   ECF No. 144. The supervising U.S. Probation Officer has no objection to the
22   instant request for modification, and the Government apparently “aligns with
23   whatever position is taken by U.S. Probation”. ECF No. 276 at 2.
24         Based on the foregoing, IT IS HEREBY ORDERED:
25         1.    Defendant’s motion to expedite the hearing, ECF No. 277, is
26   GRANTED.
27         2.    Defendant’s motion to modify the conditions of his release, ECF No.
28   276, is GRANTED.


     ORDER DENYING DEFENDANT’S MOTION . . . - 1
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 1         3.      Defendant is no longer required to participate in electronic home
 2   monitoring.
 3         4.      All other conditions of release previously imposed by the Court
 4   remain in effect.
 5         IT IS SO ORDERED. The District Court Executive is directed to file this
 6   order and provide copies to counsel and the United States Probation Office.
 7         DATED November 20, 2014.
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                                            JOHN T. RODGERS
10                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING DEFENDANT’S MOTION . . . - 2
